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  3a Trucking
  Hector's Trucking Inc
  2322 W 3rd St
  Monahans, TX 79756


  A&A Energy Services, LLC
  705 Melton Alley
  Midland, TX 79705


  Abraham Rodriguez
  7015 W 10th St
  Odessa, TX 79763


  Abri Transportation Services, LLC
  C/O Advantage Business Capital, Inc
  Po Box 4283, Dept 53
  Houston, TX 77210-4283


  AFLAC
  1932 Wynnton Rd.
  Columbus, GA 31999


  Aldo's Service Truck LLC
  Aldo's Service Truck LLC
  7404 N Butler Dr
  Hobbs, NM 88242


  Allied Eagle Transports
  Po Box 60593
  Midland, TX 79711


  Amanda Blissard
  Anderson Water Station
  18502 Gail Hwy
  Big Spring, TX 79720
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  Ameripride Services
  P.O. Box 695
  Bemidji, MN 56619-0695


  AN Trucking, LLC
  2095 N Clendenen Ave
  Odessa , TX 79763


  Antonio Guerrero-Preciado
  116 W. 10th Street
  Crane, TX 79731


  Aries Building Systems
  2900 S Quincy Street, Suite 425
  Arlington, VA 22206


  Arturo Lujan
  2903 Northtown Pl
  Midland, TX 79705


  Autozone
  P.O. Box 116067
  Atlanta, GA 30368


  B & W Chemical Toilets, Inc
  4500 South State Hwy 349
  Midland, TX 79706


  Basin Care
  1816 N. Midland Dr
  Midland, TX 79707


  Basin Safety Services, Inc.
  P.O. Box 62007
  Midland, TX 79711
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  Beard Equipment CO. Inc
  P.O. Box 80147
  Midland, TX 79708


  Big Boy Transportation, LLC.
  C/O Advantage Business Capital, Inc.
  Po Box 4283 Dept. 53
  Houston, TX 77210-4283


  Briarwood Clinic, LLC
  2410 N Fowler Street
  Hobbs, NM 88240


  Builders & Homeowners Supply, Inc
  1701 West Industrial Ave
  Midland, TX 79701


  C&D Sandblasting LLC
  2606 W County Rd 114
  Midland, TX 79706


  Cactus Fuel, LLC
  P.O. Box 677924
  Dallas, TX 75267-7924


  Carlos Arenas
  10817 Sunstone St.
  El Paso, TX 79924


  Caterpillar Financial Services
  Po Box 730681
  Dallas, TX 75373-0681


  Cesareo Saenz
  Dog Trucking LLC
  P. O. Box 1893
  Lovington, NM 88260
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  CGG Trucking, LLC
  300 Lincoln
  Pecos, TX 79772


  Chance Properties CO
  Po Box 1221
  Kermit, TX 79745


  Chevy Trucking
  Po Box 825
  Coahoma, TX 79511


  Christopher Fuentes
  5201 Ellen Jayne Way
  Midland, TX 79707


  Christopher Hopkins
  6500 Eastridge Rd., Apt. 190
  Odessa, TX 79762


  Citizens State Bank
  111 Robinson St
  Miles, TX 76861


  Commercial Credit Group
  2135 City Gate Lane, Suite 440
  Naperville, Il 60563


  Crude State Energy, LLC
  115 N. Cedar St
  Pecos, TX 79772


  Daniel Subia
  905 Gehrig Ave
  Midland, TX 79706
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  De Lage Landen Financial Services, Inc.
  P.O. Box 41602
  Philadelphia, PA 19101-1602


  DirecTV
  P.O. Box 60036
  Los Angeles, CA 90060-0036


  Driven Services, LLC
  2071 Davis Rd
  Lipan, TX 76462


  Dufrane Construction, LLC.
  C/O National Bank of Andrews
  Po Box 329
  Andrews, TX 79714


  Equify Financial, LLC
  777 Main Street, Suite 3900
  Fort Worth, TX 76102


  Equipmentshare.Com
  Po Box 2214
  Decatur, AL 35609-2214


  Ever Villalobos Dba Isaac's Trucking
  6006 E Cr 84
  Midland, TX 79706


  First Capital Bank
  310 W. Wall Street, Suite 100
  Midland, TX 79701


  G & M Trucking
  Gregorio Andrade
  Po Box 1426
  Odessa, TX 79760
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  Game Equipment Services
  3709 S Cr 1184
  Midland, TX 79706


  Garcia Trucking
  Alfredo Garcia
  7100 Air Line Dr Unit #30058
  Midland, TX 79712


  GCR Rentals
  Po Box 1742
  Midland, TX 79702


  Guardian
  P.O. Box 677458
  Dallas, TX 75267


  Hard Rock Trucking, LLC
  Triumph Business Capital
  Po Box 610028
  Dallas, TX 75261-0028


  Harem Smallwood
  110 Pavilion Pkwy, Apt. 1407
  Midland, TX 79705


  Health Care Service Corporation
  PO Box 731428
  Dallas, TX 75373-1428


  Highway 350 Fresh Water Sales
  Po Box 43
  Tioga, TX 76271


  Hitachi Capital
  7808 Creekridge Circle, Ste 250
  Edina, MN 55439
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  Hoelscher Crushed Stone
  1150 Cr 150
  Garden City, TX 79739


  Hoelscher Crushed Stone
  c/o French Benton, PLLC
  415 W. Wall St., Suite 1240
  Midland, Texas 79701


  Industrial Oils Inc
  Po Box 1762
  Midland, TX 79702-1762


  Industrial Oils Inc
  c/o French Benton, PLLC
  415 W. Wall St., Suite 1240
  Midland, Texas 79701


  Inland Tarp & Liner, LLC
  4172 N. Frontage Rd. E
  Moses Lake, WA 98837


  Internal Revenue Service
  P.O. Box 7346
  Philadelphia, PA 19101-7346


  IPFS Corporation
  P.O. Box 730223
  Dallas, TX 75373-0223


  Iron Guard Housing
  5 Legacy Drive
  Goldendale, WA 98620


  Ironwood Business Consulting
  16955 Walden Road, Suite 118
  Montgomery, TX 77356
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  J. Tarin Trucking, LLC
  411 W Temple
  Hobbs, NM 88240


  J.E.L. Trucking Services LLC
  12613 W Farice Dr
  Odessa , TX 79764


  Jacob Almodova
  901 Keystone Ct
  Midland, TX 79705


  Javier Almodova
  3605 W Cr 145
  Midland, TX 79706


  Jesus Garcia
  905 S. McElroy
  Crane, TX 79731


  Jesus Lopez
  P.O. Box 5216
  Eagle Pass, TX 78852


  Jetliner
  2114 E. Murphy Street
  Odessa , TX 79761


  Joseph Villarreal
  4717 Preston Drive
  Midland, TX 79707


  Jurado Trucking
  C/O Flash Funding, LLC
  Po Box 4745
  Houston, TX 77210
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  K&F Equipment LLC
  Po Box 4551
  Midland, TX 79704


  Kobelco Financial Services
  P.O. Box 105743
  Atlanta, GA 30348-5743


  Kobelco Financial Services
  Wells Fargo Vendor Financial Services, LLC
  5000 Riverside Drive, Suite 300 East
  Irving, TX 75039


  KYS Trucking LLC
  107 W Castle Ave
  Hobbs, NM 88240


  Laso Trucking LLC
  Luis A Saenz
  708 N Roselawn Ave
  Artesia, NM 88210


  Laura Sawyers
  7650 Tres Hermanas Blvd., Apt. K102
  Odessa, TX 79765


  Le Trucking
  7919 W Cr 116
  Midland, TX 79706


  Libertas Funding
  382 Greenwich Avenue Suite 2 Second Floor
  Greenwich, CT 06380


  Lubbock Grader Blade, Inc
  2416 Marshall St
  Lubbock, TX 79415
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  M. Mata Trucking
  Po Box 1263
  Hobbs, NM 88241-1263



  Mazon Associates Inc.
  800 West Airport Freeway, Suite 900
  Irving, TX 75062


  McCoy's Building Supply
  P.O. Box 1362
  San Marcos, TX 78666-7130


  Melva Almodova
  4611 W. Cuthbert Ave
  Midland, TX 79703


  Midland Central Appraisal District
  Attn Tina Patterson
  Po Box 908002
  Midland, TX 79708-0002

  Midland Rockhounds
  5514 Champions Dr.
  Midland, TX 79706


  Nahely Gilmer
  4808 FM 1213
  Midland, TX 79706


  No Bull Services LLC
  Po Box 2708
  Odessa , TX 79760


  Novak Diesel Service, LLC
  C/O Nationwide Capital Funding, Inc
  Po Box 260775
  Corpus Christi, TX 78426
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  Omar Venegas
  Dba Xander Services, LLC
  3605 S Cr 1187
  Midland, TX 79706


  Optimus Trucking
  Po Box 2461
  Odessa , TX 79760


  Ortega Trucking
  200 W Ave Q
  Lovington, NM 88260


  Patron Poly Services
  6308 S CR 1270
  Midland, TX 79706


  Permian H2o Solutions LLC.
  P.O. Box 52095
  Midland, TX 79710


  Permian Lodging, LLC
  1 Flagg Place
  Lafayette, La 70508

  Platina Family Holdings
  3605 W CR 145
  Midland, TX 79706


  Quill
  P.O. Box 37600
  Philadelphia, PA 19101-0600


  R E Janes Gravel CO
  4021 84th Street, Ste 200
  Lubbock, TX 79423
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  R. C. And Sons LLC
  6124 W Texas NM
  Humble City, NM 88242


  R.O. Pomroy Equipment Rental, Inc
  Roper, Inc.
  Po Box 1683
  Odessa , TX 79760


  R.O. Pomroy Equipment Rental, Inc
  Roper, Inc.
  c/o Todd, Barron, Thomason, Rudman & Bebout, P.C.
  3800 E. 42" Street, Suite 409
  Odessa, Texas 79762


  Raul Alvarado Dba R.J.O. Trucking, LLC
  419 W Skelly St
  Hobbs, NM 88240


  Raul H Gutierrez
  Dba Lone Ranger Trucking, LLC
  829 W Harrison
  Lovington, NM 88260


  Raven Industries, Inc
  Attn: Tanya Satter
  205 E 6th St.
  Sioux Falls, SD 57104


  Re-Gen Enterprise LLC
  6700 N Linder Rd, Ste 156, #290
  Merdian, ID 86646


  Republic Services, Inc.
  P.O. Box 78829
  Phoenix, AZ 85062
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  RHI Tech Services, LLC
  C/O Goodman Factors
  Po Box 29647
  Dallas, TX 75229-9647


  Rigoberto Caldera
  Po Box 3412
  Midland, TX 79702


  Roadmaster Drivers School
  11300 4th Street North, Suite 200
  St Petersburg, FL 33716


  Rocha's Trucking C/O Sierra Finance
  6080 Surety Drive, Ste 101
  El Paso, TX 79905


  Rodolfo Cisneros
  Rs Trucking LLC
  3810 N Fowler St
  Hobbs, NM 88240


  Ruth Baeza
  3110 Thomas Ave
  Midland, TX 79701


  Samuel Ornelas
  4714 Cindy Pl
  Midland, TX 79707


  Small Business Administration
  409 3rd St, SW
  Washington, Dc 20416


  Solar Water Station
  Po Box 568
  Pecos, TX 79772
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                                        16




  State of New Mexico Taxation and Revenue Dept.
  P.O. Box 25128
  Santa Fe, NM 87504



  Superior Performance Inc.
  122 Youngsville Hwy
  Lafayette, LA 70508


  Tellus Consulting, LLC
  Po Box 53136
  Midland, TX 79710


  Tetra Technologies-Swiftwater Energy
  Po Box 841185
  Dallas, TX 75284-1185


  Texas Comptroller of Public Accounts
  111 East 17th Street
  Austin, TX 78774


  Tifco Industries
  P.O. Box 40277
  Houston, TX 77240-0277


  T-K-O Equipment CO
  Po Box 153389
  Irving, TX 75015


  Tony's Trucking LLC
  375 Choctaw Road
  Hagerman, NM 88232


  Toro C Services, LLC
  Po Box 2708
  Odessa , TX 79760
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  Tubb Quarry
  P.O. Box 909
  Big Spring, TX 79721


  Tumbleweed Trucking, Inc.
  Po Box 397
  Coahoma, TX 79511


  Turn It Right Services, LLC
  Po Box 9850
  Midland, TX 79708


  TZC Services, LLC
  Po Box 161585
  Austin, TX 78716


  U.S. Chaparral Water Systems, Inc
  P.O. Box 80249
  Midland, TX 79708-0249


  Vermeer
  6117 East I-20
  Midland, TX 79706


  Walter D Shonk
  D & E Trucking CO
  1311 Virginia Ave
  Big Spring, TX 79720


  Warren Power
  Po Box 60662
  Midland, TX 79711


  Weaver and Tidwell, LLP
  2821 W 7th St, Ste 700
  Fort Worth, TX 76107
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  Western I&J Trucking LLC
  1817 1/2 E 21st
  Clovis, NM 88101


  Wex Bank
  P.O. Box 4337
  Carol Stream, IL 60197


  Wild West Trucking
  215 W 2nd St #265
  Pecos, TX 79772


  Worldwide Rental Services
  Po Box 172363
  Denver, CO 80217-2363


  Zeno Office Solutions
  P.O. Box 660831
  Dallas, TX 75266
